                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 MICHAEL KENT, Individually and On               )
 Behalf of All Others Similarly Situated,        )
                                                 )
                         Plaintiff,              )   Case No. 1:20-cv-01213-RGA
                                                 )
           v.                                    )
                                                 )
 LIVONGO HEALTH, INC, GLEN                       )
 TULLMAN, ZANE BURKE, CHRIS                      )
 BISCHOFF, KAREN L. DANIEL,                      )
 SANDRA FENWICK, PHILIP D. GREEN,                )
 HEMANT TANEJA, TELADOC HEALTH,                  )
 INC., and TEMPRANILLO MERGER SUB,               )
 INC.,                                           )
                  Defendants.                    )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action, and no class has been certified in the

Action.

 Dated: November 12, 2020                            RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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